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                                            Document     Page 1 of 4
          Carol A Thompson


                       Northern                            New York
           13-61836-6-dd



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       Mortgage Information

                    US Bank Trust National Association, as Trustee of
                    the SCIG Series III Trust
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                        149 Beach Street



                        Massena, NY 13662




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     Carol A Thompson                                               13-61836-6-dd




      /s/ Richard Postiglione                            01 30 2019


     Richard                           Postiglione       Attorney for Creditor


     Friedman Vartolo, LLP




     1325 Franklin Avenue, Suite 230


      Garden City                      NY       11530



      212   741     5100                                bankruptcy@FriedmanVartolo.com
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                                                                    /s/ Richard Postiglione
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Debtor

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Debtor’s Attorney
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Trustee
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U.S. Trustee
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